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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                 :

       v.                                     : Crim. No. 23-MJ-13 (GMH)

FARHAD AZARI                                  :

                    APPEARANCE OF COUNSEL FOR DEFENDANT

       Please enter the appearance of undersigned appointed counsel on behalf of the Defendant,

nunc pro tunc to January 19, 2023.

                                                   /s/

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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing was sent by ECF, this 13th day of
March, 2023, to all counsel of record.

                                                   /s/

                                           Stephen F. Brennwald
